Case 23-14606-LMI Doc14 Filed 06/27/23 Page1of12

United States Bankruptcy Court
Southern District of Florida

Inre Osvaldo Cruz Padron Case No. 23-14606-LMI

Debtor(s) Chapter 7

AMENDED DECLARATION REGARDING PAYMENT ADVICES

Debtor:

a Copies of all payment advices, pay stubs or other evidence of payment received by the debtor from any employer within 60
days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
attach copies of any and all received and provide explanation that you didn't work the full 60 days.

—___—) Debtor works for Uber, he did not work the full 60 days.

Oo Copies of all payment advices are not attached because the debtor had no income from any employer during the 60 days
prior to filing the bankruptcy petition.

O Copies of all payment advices are not attached because the debtor:
O receives disability payments
Oo is unemployed and does not receive unemployment compensation
Oo receives Social Security payments
Oo receives a pension
O does not work outside the home
Oo is self employed and does not receive payment advices
Oo None of the statements above apply, however, the debtor is unable to timely provide some or all copies of payment advices or
other evidence of payment received
Explain:

Joint Debtor (if applicable):

O Copies of payment advices, pay stubs or other evidence of payment received by the joint debtor from any employer within 60
days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
attach copies of any and all received and provide explanation that you didn't work the full 60 days.

)

O Copies of payment advices are not attached because the joint debtor had no income from any employer during the 60 days
prior to filing the bankruptcy petition.

Oo Copies of payment advices are not attached because the joint debtor:
O receives disability payments
O is unemployed and does not receive unemployment compensation
Oo receives Social Security payments
Oo receives a pension
Oo does not work outside the home
O is self employed and does not receive payment advices
Oo None of the statements above apply, however, the joint debtor is unable to timely provide some or all copies of payment
advices or other evidence of payment received
Explain:

LF-10 (rev. 12/01/09) Page | of 2
Case 23-14606-LMI Doc14 Filed 06/27/23 Page 2 of12

NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices, it is your responsibility to redact
(blackout) any social security numbers, names of minor children, dates of birth or financial account numbers before attaching for
filing with the court. See Local Rule 5005-1(A)(2).

Is} Osvaldo Cruz Padron Date: June 27, 2023
Osvaldo Cruz Padron
Signature of Attomey or Debtor

LF-10 (rev. 12/01/09) Page 2 of 2
Case 23-14606-LMI Doc14 Filed 06/27/23 Page 3of12

Uber

1515 3rd Street
San Francisco, CA 94153

Uber Tax ID Number: XX-XXXXXXX

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/1

Thanks for doing driving with Uber in 2023/1. Below is a breakdown of your earnings over the month that may help you file your taxes.

Driving Totals 82 950

Online Miles shows all of the miles you drove while online,

including off trip miles. COMPLETED TRIPS ONLINE MILES

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Your Gross Payment Expenses, Fees and Tax Your Net Payout

Total Trip Earnings from Uber plus any other Expenses, Fees and Tax. Fora complete breakdown, Not for tax filing purposes. This amount represents
additional earnings please refer to table 1 on page 2. what was paid in your bank account.

Reportable Payments Expenses, Fees and Tax + $943.92 Net Earnings + $860.29
Gress Tip Earnings + $1,628.86

Reimbursements: Tolls, Airport fees and

Surcharges Heel
Total Additional Eamings - + $189.46 ges

$1,818.32 $943.92 $874.40

This is not an official tax document. Uber does not offer any tax advice.

Check with a tax professional or go to tuber.com/taxes-faq for more information

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 4of12

Uber

1515 3rd Street
San Francisco, CA 34158

Uber Tax ID Number: XX-XXXXXXX

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/1

Table 1 - Expenses, Fees, Tax and Reimbursement

Allitems marked with a* may be tax deductible. Your online mileage may also be deductible. Need help filing? Get help from the tax experts. Visit
tuber.com/turbotax or consult a tax professional for more information.

Expenses, Fees and Tax

Uber service fee/other adjustments* $587.65
Booking fee* $342.42
Split fare fee* $0.50
Airport and city tees collectec* $4.00
Instant pay charges* $9.35

Reimbursements

Tolls, airport fees and surcharges $14.11

TOTAL EXPENSES, FEES, TAX AND REIMBURSEMENTS $958.03

“Uber Service Fee / Other Adjustments’ includes both the Uber Service Fee and certain other items such as: 1) pricing adjustments due to Uber-provided rider promotions, or 2) differences between

the rider's upfront price and your earnings.

Table - 2 Additional Payments from Uber or Subsidiaries

Incentives $189.18
Other Miscellaneous Payment $0.28
TOTAL ADDITIONAL EARNINGS $189.46

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Case 23-14606-LMI Doc14 Filed 06/27/23 Page5of12

Uber

1515 3rd Street
San Francisco, CA 84158

Uber Tax ID Number: 45-264744]

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/2

Thanks for doing driving with Uber in 2023/2. Below is a breakdown of your earnings over the month that may help you file your taxes.

Driving Totals 82 723

Online Miles shows all of the miles you drove while online,

: caeel, COMPLETED TRIPS ONLINE MILES
including off trip miles.

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Your Gross Payment Expenses, Fees and Tax Your Net Payout
Total Trip Earnings from Uber plus any other Expenses, Fees and Tax. Fora complete breakdown, Not for tax filing purposes. This amount represents
additional earnings please refer to table ] on page 2. what was paid in your bank account.
Reportable Payments Expenses, Fees and Tax + $793.68 NetEarnings + $675.34
Gross Trip Earnings + $1373 72 Reimbursements: Tolls, Airport fees and + $059
a . i
Total Additional Earnings + $104.89 Surcharges

$1,478.61 $793.68 $684.93

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Check with a tax professional or go to tuber.com/taxes-faq for more information

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 6 of12

Uber

1515 3rd Street
San Francisco, CA 84158

Uber Tax ID Number: 45-26.

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/2

Table 1 - Expenses, Fees, Tax and Reimbursement

Allitems marked with a* may be tax deductible. Your online mileage may also be deductible. Need help filing? Get help from the tax experts. Visit
tuber.com/turbotax or consult a tax professional for more information.

Expenses, Fees and Tax

Uber service fee/other adjustments* $484.21
Booking fee* $302.17
Split fare fee* $0.50
Instant pay charges* $6.80

Reimbursements

Tolls, airport fees and surcharges* $9.59

TOTAL EXPENSES, FEES, TAX AND REIMBURSEMENTS $803.27

“Uber Service Fee / Other Adjustments’ includes both the Uber Service Fee and certain other items such as: 1) pricing adjustments due to Uber-provided rider promotions, or 2) differences between

the rider's upfront price and your earnings.

Table - 2 Additional Payments from Uber or Subsidiaries

Incentives $LOA.89

TOTAL ADDITIONAL EARNINGS $104.89

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Case 23-14606-LMI Doc14 Filed 06/27/23 Page 7 of 12

Uber

1515 3rd Street
San Francisco, CA 94158

Uber Tax ID Number: 45-264744]

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/3

Thanks for doing driving with Uber in 2023/3. Below is a breakdown of your earnings over the month that may help you file your taxes.

Driving Totals 86 1,101

Online Miles shows all of the miles you drove while online,

including off tip miles. COMPLETED TRIPS ONLINE MILES
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Your Gross Payment Expenses, Fees and Tax Your Net Payout
Total Trip Earnings from Uber plus any other Expenses, Fees and Tax. For a complete breakdown, Not for tax filing purposes. This amount represents
additional earnings please refer to table 1] on page 2. what was paid in your bank account.

Reportable Payments Expenses, Fees and Tax + $1352.85 Net Earnings + $1554.95

Gross Trp Earnings + $2,814.30 Reimbursements: Tolls, Airport fees

sseeseareae + $29.26
Total Additional Earnings + $122.76 ANG SuFENer ges

$2,937.06 $1,352.85 $1,584.21

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Check with a tax professional or go to tuber.com/taxes-faq for more information

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 8 of 12

Uber

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/3

Table 1 - Expenses, Fees, Tax and Reimbursement

1515 3rd Street

San Francisco, CA 94158

Uber Tax ID Number: 45-

Allitems marked with a* may be tax deductible. Your online mileage may also be deductible. Need help filing? Get help from the tax experts. Visit

tuber.com/turbotax or consult a tax professional for more information.

Expenses, Fees and Tax

Uber service fee/other adjustments:
Booking fee*
Airport and city fees collacted*

Instant pay charges*

Relmbursements

Tolls, airport fees and surcharges

TOTAL EXPENSES, FEES, TAX AND REIMBURSEMENTS

“Uber Service Fee / Other Adjustments” includes both the Uber Service Fee and certain other items such as: 1) pricing adjustments due to Uber-provided rider promotions, or 2) differences between

the rider's upfront price and your earnings.

Table - 2 Additional Payments from Uber or Subsidiaries

Incentives

TOTAL ADDITIONAL EARNINGS

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$1,382.11

$122.76

$122.76

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 9of12

Uber

1515 3rd Street
San Francisco, CA 94158

Uber Tax ID Number: XX-XXXXXXX

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/4

Thanks for doing driving with Uber in 2023/4. Below is a breakdown of your earnings over the month that may help you file your taxes.

Driving Totals 1 8

Online Miles shows all of the miles you clrove while online,

including off trip miles. COMPLETED TRIPS ONLINE MILES

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Your Gross Payment Expenses, Fees and Tax Your Net Payout
Total Trip Earnings from Uber plus any other Expenses, Fees and Tax. Fora complete breakdown, Not for tax filing purposes. This amount represents
additional earnings please refer to table 1 on page 2. what was paid in your bank account.

Reportable Payments Expenses, Fees and Tax +$5.79 Net Earnings + $8.87
Gross Trp Earnings +$14.66

$14.66 $5.79 $8.87

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Check with a tax professional or go to tuber.com/taxes-faq for more information

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 10 of 12

Uber

1515 3rd Street

San Francisco, CA 9415

Uber Tax ID Nurnber: 45-26.

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/4

Table 1 - Expenses, Fees, Tax and Reimbursement

Allitems marked with a* may be tax deductible. Your online mileage may also be deductible. Need help filing? Get help from the tax experts. Visit
tuber.com/turbotax or consult a tax professional for more information.

Expenses, Fees and Tax

Uber service fee/other adjustments $2.76
Booking fee* $3.03
Reimbursements

TOTAL EXPENSES, FEES, TAX AND REIMBURSEMENTS $5.79

“Uber Service Fee / Other Adjustments’ includes both the Uber Service Fee and certain other items such as: 1) pricing adjustments due to Uber-provided rider promotions, or 2) differences between

the rider's upfront price and your earnings.

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Case 23-14606-LMI Doc14 Filed 06/27/23 Page 11 of 12

Uber

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/5

1515 3rd Street

San Francisco, CA 94158

Uber Tax ID Number: XX-XXXXXXX]

Thanks for doing driving with Uber in 2023/5. Below is a breakdown of your earnings over the month that may help you file your taxes.

Driving Totals 229

Online Miles shows all of the miles you drove while online,

including off trip miles. COMPLETED TRIPS ONLINE MILES

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Your Gross Payment Expenses, Fees and Tax Your Net Payout
Total Trip Earnings frorn Uber plus any other Expenses, Fees and Tax. Fora complete breakdown, Not for tax filing purposes. This amount represents
additional earnings please refer to table 1 on page 2. what was paid in your bank account.
Reportable Payments Expenses, Fees and Tax +$31043 Net Earnings + $270.47
Gress Trp Earnings +$519.46 Reimbursements: Tolls, Airport fees and “9907
Total Additional Eamings + 96851 Surcharges

$587.97

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$310.43 $277.54

Case 23-14606-LMI Doc14 Filed 06/27/23 Page 12 of 12

Uber

1515 3rd Street
San Francisco, CA 94158

Uber Tax iD Number: 45-264744]

Osvaldo cruz

Code: 644k0y

Tax Summary for 2023/5

Table 1 - Expenses, Fees, Tax and Reimbursement

Allitems marked with a * may be tax deductible. Your online mileage may also be deductible. Need help filing? Get help from the tax experts. Visit
tuber.com/turbotax or consult a tax professional for more information.

Expenses, Fees and Tax

Uber service fee/other adjustments: $204.37
Booking fee* $103.51.
Instant pay charges* $2.55

Reimbursements

Tolls, airport fees and surcharges* $7.07

TOTAL EXPENSES, FEES, TAX AND REIMBURSEMENTS $317.50

“Uber Service Fee / Other Adjustments’ includes both the Uber Service Fee and certain other items such as: 1) pricing adjustments due to Uber-provided rider promotions, or 2) differences between

the rider's upfront price and your earnings.

Table - 2 Additional Payments from Uber or Subsidiaries

Incentives $68.51

TOTAL ADDITIONAL EARNINGS $68.51

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